       Case 3:12-cr-03850-JAH                       Document 355                 Filed 12/11/13              PageID.1292               Page 1 of 8


     'AO 245B (CASD) (Rev. 1112)    Judgment in a Criminal Case
                  Sheet 1




                                        v.                                         (For Offenses Committed On or After November 1, 1987)

                            Scott Randall Horine -7                                Case Number: 12-cr-03850-JAH-7
                                                                                    Inge Brauer
                                                                                   Defendant's Attorney
     REGISTRATION NO. 36646298

    o
     THE DEFENDANT:                                "                       .
     I8J pleaded guilty to count(s) One, five and SIX of the supersedmg Indictment.
     o was found guilty on cOunt(S)I_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                       Nature of Offense                                                                                 Numberls)
18:922(g)(I) and 924(a)(2)            Felon in Possession of a Fireann and Ammunition                                                       1
21 :841 (a)(1);                        Possession of Methamphetamine with Intent to Distribute                                              5
 18:924(d)(l),
28:2461 (c) and 21:853
21:841(a)(I);                          Possession of Methamphetamine with Intent to Distribute                                              6
18:924(d)(I),28:2461(c)
and 21:853




        The defendant is sentenced as provided in pages 2 through    4    of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 I8J count(S)-:;.;re;,;;;m;.;:a;.;:in;,;;;in;.;:;g'--_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ iS 0      arel8J dismissed on the motion of the United States.
 18I Assessment: $100.00 as to each count for total of$300.

  181 No fine                                       181    Forfeiture pursuant to order filed _ _ _.,;.1.,;.2/_5....:/1:.;;,3_ _ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               December 9, 2013




                                                                                                                                           12-cr-03 850-J AH-7
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AO 2458 (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 2 Imprisonment

                                                                                           Judgment   Page _ _2_ of         4
 DEFENDANT: Scott Randall Horine -7
 CASE NUMBER: 12-cr-03850-JAH-7
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Ctls: Ten years,
         Ct5s: two hundred and four months, concurrent to count Is,
         Ct6s: two hundred and four months, concurrent to count 5s.

    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    I8J The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends the Residential Drug Abuse Program and that custody be served in the North Central Region.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.        on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before ------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                               to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                         UNITED STAYES MARSHAL

                                                                   By
                                                                                      DEPUTY UNITED STAlES MARSHAL




                                                                                                              12-cr-03850..JAH-7
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AO 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
              Sheet 3 - Supervised Rele88e
                                                                                                              Judgment Page    ---L- of _ _4~_ _
DEFENDANT: Scott Randall Horine -7                                                                    D
CASE NUMBER: 12-cr-03850-JAH-7
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Five years concurrent as to all counts.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal. state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a ?on.trolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two penodlc drug ~ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month durtng
the term of supervision, unless otherwise ordered by court.

o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).                                                        .
        The defendant shall comply with tlie requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as dIrected
        by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
 or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
 forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
 any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the d~fe:'1dant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permISSIon of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

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       AO 245B (CASD) (Rev, 1112) Judgment in a Criminal Case
                  Sheet 4 Special Conditions
                                                                                                       Judgment Page - i . - of ___
                                                                                                                                  4__
       DEFENDANT: Scott Randall Horine -7                                                         II
       CASE NUMBER: 12-cr-0385O-JAH-7




                                             SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation ofa condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported. excluded, or allowed to voluntarily re~m to country of o.ri~in, nO.t reenter the Unite~ States ill~gally and report to the probation
    officer within 24 hours of any reentry to the Umted States; supervIsIon waIved upon deportatIon, exclusIOn or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Complete 100 hours of community service in a program approved by the probation officer.
D Resolve all outstanding warrants within                  days.
D Complete           hours of community service in a program approved by the probation officer within
181 Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days.
D Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant'S ability to pay.

D Comply with the conditions of the Home Confinement Program for a period of                                 months and remain at your residence
    except for activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow
    procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the
    probation officer.




                                                                                                                                12-cr-03850-JAH-7
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 7
 8                             UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                           Case No. 12cr3850-JAH
11                              Plaintiff,               PRELIMINARY ORDER
12                                                       OF CRIMINAL FORFEITURE
           v.
13   SCOTT RANDALL HORINE (7),
14                              Defendant.
15
16         WHEREAS,       in    the   Superseding          Indictment       in    the   above-
17   captioned case,            the   United States         seeks      forfeiture       of all
18   right,      title    and     interest      in      specific      properties        of   the
19 above-named Defendant,                  SCOTT    RANDALL      HORINE     (" Defendant") ,
20 pursuant to 18 U.S.C.               §    924 (d) (1),    28 U.S.C.        §   2461 (c)    and
21   21    U.S.C.   §    853,    as   properties         in violation of           18   U.S.C.
22   §§ 922(g) (1)       and 924(a)(2),         21 U.S.C.        §§   841(a) (1)     and 846,
23   and    21   U.S.C.    §     841(a) (1),       as   charged       in   the   Superseding
24   Indictment; and

25         WHEREAS,       on    or    about    August      27,    2013,     the    Defendant
26 pled guilty before Magistrate Judge David H. Bartick to the
27   Superseding Indictment; and
28   //
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 1       WHEREAS,        on    October          11,      2013,        this        Court    accepted
 2 Defendant's guilty plea; and
 3       WHEREAS,      by virtue of the facts set forth in the Plea
 4 Agreement     and      Forfeiture         Addendum,               the    United      States      has
 5 established        the      requisite            nexus        between          the     forfeited
 6 properties and the offense; and
 7       WHEREAS,         by        virtue        of      said             guilty       plea,        the
 8 United States          is    now        entitled         to         possesslon          of       said
 9 properties,        pursuant        to    18     U.S.C.        §    924(d) (1),         28    U.S.C.
10 § 2461(c), and 21 U.S.C. §§ 853 (a) (1) and (2) ; and
11       WHEREAS,        pursuant      to       Rule     32.2 (b),          the     United      States
12 having     requested        the     authority            to        take       custody       of    the
13 following     properties           which       were      found          forfeitable         by    the
14 Court, namely:
15             (1)    an Ex Cam, Model GT27, .25 caliber pistol,
                      Serial Number 12741;
16
               (2)    seven rounds of .25 caliber ammunition;
17             (3)    approximately $2,061.00 in U.S. Currency; and
18             (4)    approximately $1,264.00 in U.S. Currency; and

19       WHEREAS,      the United States,                 having submitted the Order
20 herein to the Defendant through his attorney of record to
21   review, and no objections having been received;
22       Accordingly,          IT      IS        HEREBY      ORDERED,               ADJUDGED        AND
23 DECREED:
24       1.    Based upon the guilty plea of the Defendant,                                          the
25 United     States      lS    hereby          authorized            to     take    custody         and
26 control of the following assets,                         and all right,                title and
27 interest      of      Defendant         in      the     following              properties        are
28 hereby     forfeited        to    the     United States                 for    disposition         in


                                                    2                                      12cr3850
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 1 accordance               with     the       law,     subject           to     the       provisions          of
 2 21 U.S.C.        §       853(n):
 3              (1)          an Ex Cam, Model GT27, .25 caliber pistol,
                             Serial Number 12741;
 4              (2)          seven rounds of .25 caliber ammunition;
 5              (3)          approximately $2,061.00 in U.S. Currency; and
 6              (4)          approximately $1,264.00 in U.S. Currency.

 7       2•    The aforementioned forfeited .25 caliber pistol and
 8 ammunition are to be held by the Bureau of Alcohol Tobacco
 9 and    Firearms             ("ATF")         in     its       secure     custody          and     control,
10 while      the           forfeited       currency            1S   to    be        held    by     Homeland
11 Security         Investigations                    ("HSI")        in        its     secure         custody
12 and control.
13       3.     Pursuant to Rule 32.2(b) and (c), the United States
14 is hereby authorized to begin proceedings consistent with
15 any statutory requirements pertaining to ancillary hearings
16 and rights of third parties.
17       4.     Pursuant to the Attorney General's authority under
1821 U.S.C.             §    853(n) (1),        Rule 32.2(b)(3),                 Fed.       R.    Crim.    P.,
19 and Rule G (4)               of the Supplemental Rules                             for Admiralty or
20 Maritime             Claims           and        Asset         Forfeiture               Actions,        the
21 United States               forthwith              shall       publish            for     thirty        (30)
22 consecutive               days    on     the       Government's              for     i ture      website,
23 www. forfei ture. gov,                  notice       of       this     Order,           notice     of   the
24 United States'               intent to dispose of the properties in such
25 manner as the Attorney General may direct,                                          and notice that
26 any person,               other than the Defendant,                         having or claiming a
27 legal      interest              in    the       above-listed               forfeited         properties
28 must file a petition with the Court within thirty (30) days

                                                            3                                       12cr3850
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 1 of the final publication of notice or of receipt of actual
 2 notice, whichever is earlier.
 3        5.     This notice shall state that the petition shall be
 4 for      a     hearing         to       adj udica te        the     validity               of   the
 5 petitioner's alleged interest in the propert                                        s,    shall be
 6 signed       by     the    petitioner           under      penalty    of        perj ury,       and
 7 shall set forth the nature and extent of the pe                                             ioner' s
 8 right,       title or interest in the                      forfeited properties and
 9 any additional facts supporting the petitioner's claim and
10 the relief sought.
11        6.     The     United        States           may    also,         to        the      extent
12 practicable,          provide       direct written notice                  to        any person
13 known to have alleged an interest in the properties that is
14 the      subj ect         of    the        Preliminary            Order         of         Criminal
15 Forfeiture.
16        7.     Upon        adjudication          of    all    third-party                 interests,
17 this        Court    will      enter       an     Amended         Order        of        Forfeiture
18 pursuant to 21 U.S.C.               §    853(n), in which all interests will
19 be addressed.
20
21 DATED:December 5, 2013
22
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28


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